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                  IN THE UNITED STATES DISTRICT COURT FOR
                    THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA         :
                                 :
      v.                         :
                                 : No. 4:19-CR-207
DAMONICO HENDERSON,              :
                                 : (Magistrate Judge Arbuckle)
                 Defendant.      :
                                 : Judge Brann
           MOTION FOR REVIEW AND REVOCATION OF DETENTION ORDER

     Defendant Damonico Henderson, by and through his undersigned

counsel, hereby moves for reconsideration of detention and for

the Court to revoke the order of detention pursuant to 18 U.S.C.

§§ 3142 & 3145 and respectfully represents the following:

     1.     On June 14, 2019, a Criminal Complaint was filed

against Mr. Henderson charging him with Conspiracy to Distribute

a Controlled Substance.
     2.     Mr. Henderson was arrested at his home in Ohio on June

17, 2019 and subsequently detained.

     3.     On June 27, 2019, an indictment was returned charging

him and two other individuals with Conspiracy to Distribute and

related offenses.    Mr. Henderson was also charged with one count

of Attempted Possession with Intent to Deliver.

     4.     An initial appearance and arraignment was held on July

12, 2019 before Magistrate Judge Arbuckle.

     5.     At that time, the Government invariably requested

detention of Mr. Henderson and invoked the rebuttable presumption

pursuant to 18 U.S.C. § 3142(e).

     6.     Mr. Henderson did not contest detention at that

juncture and reserved the right to challenge it.
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       7.    Mr. Henderson disputes that he is a flight risk and/or

a danger to the community.

       8.    Refuting the presumption is a low standard.         Mr.

Henderson need only present “some credible evidence” to rebut the

presumption.     See United States v. Carbone, 793 F.2d 559 (3d Cir.

1986).

       9.    Mr. Henderson is 55 years of age.

       10.   He is a lifelong resident of Elyria, Ohio - a suburb of

Cleveland.

       11.   He is married to his wife Stephanie.

       12.   He is the father of three adult children.

       13.   Prior to his incarceration, Mr. Henderson was gainfully

employed and worked for six years as a manager for Harkness

Services, a business that services and installs exhaust hoods for

industrial kitchens. That employment is still available if

released.

       14.   Mr. Henderson’s last criminal contact was eleven years

ago.   He nevertheless, had an excellent supervision history and

no history of bench warrants.

       15.   Mr. Henderson is represented by local counsel.

       16.   The present denial of bail deprives Mr. Henderson of an

opportunity to unhampered preparation of his defense.

       17.   The present detention deprives Mr. Henderson as it

punishes him in the absence of a conviction.




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     18.     The present detention destroys Mr. Henderson’s

presumption of innocence and he is being detained on a mere

suspicion of guilt.

     19.     There are conditions available that can be imposed that

will reasonably assure Mr. Henderson’s appearance.

     20.     Assistant United States Attorney Geoff MacArthur does

not concur with this motion.

     WHEREFORE, for the foregoing reasons, Mr. Henderson

respectfully requests that the Court grant a hearing on the

matter and after said hearing, grant his motion and release him

pending disposition in this case under any conditions that the

Court may deem just and appropriate.




Dated:       August 20, 2019




                               MIELE & RYMSZA, P.C.


                               By:   s/ Edward J. Rymsza
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                          CERTIFICATE OF SERVICE

     I, Edward J. Rymsza, Esq., hereby certify that on this 20th

day of August 2019, I served the foregoing Motion for Review and

Revocation of Detention Order upon Geoff MacArthur, Esq. by

electronic mail.


Dated:       August 20, 2019



                                    MIELE & RYMSZA, P.C.


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